Case 2:05-cv-02470-.]DB-dkv Document 7 Filed 08/25/05 Page 1 of 2 Page|D 3

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
WESTERN DIVISION

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GLORIA ROGERS,
Plaintiff,

`VS.

QUENTON WHITE, et al.,

Defendants.

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No.

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05-2470-BV

 

ORDER EXTENDING TIME FOR DEFENDANT DAVID MILLS TO ANSWER

OR OTHERWISE PLEAD TO THE COMPLAINT

 

Before the court is the motion of the defendant David Mills,

proceeding pro se, pursuant to Rule 6(b)(1) of the Federal Rules of

Civil Procedure, for an enlargement of time to answer or otherwise

plead to the complaint filed herein.
counsel for the plaintiff on August 19, 2005.

For good cause shown,

the motion is granted.

The motion was served on

The time in

which the defendant David Mills must answer or otherwise or plead

is extended up to and including Monday,

IT IS SO ORDERED this 24th day of August,

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with F`su|e 55 and/or 79(5) FHCP on

September 26,

2005.

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DIANE K. VESCOVO
UNITED STATES MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 7 in
case 2:05-CV-02470 Was distributed by faX, mail, or direct printing on
August 26, 2005 to the parties listed.

 

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Honorable J. Breen
US DISTRICT COURT

